                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )
                                              )      Case No. 1:09-CR-181
 v.                                           )
                                              )
 LESLIE APGER                                 )      COLLIER/CARTER


                              REPORT AND RECOMMENDATION

        An April 23, 2010, letter from Linda T. McGrew, Warden of the Federal Bureau of

 Prisons, Federal Detention Center in Miami, Florida and a Forensic Evaluation of defendant

 Leslie Apger were received by the undersigned Magistrate Judge. It is the opinion of the

 examiner that defendant does not suffer from a severe mental disorder or defect that would

 preclude her ability to understand the nature and consequences of the proceedings against her, or

 to assist her attorney in her own defense.

        A waiver of competency hearing signed by defendant and submitted by Atty. Curtis Bowe

 was filed on June 18, 2010. It is therefore ORDERED that the waiver be filed as a part of the

 record. The Court RECOMMENDS on the basis of the waiver and the report that defendant

 Leslie Apger be found competent to stand trial.1


        Dated: June 23, 2010                  s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




        1
         Any objections to this Report and Recommendation must be served and filed within
 fourteen (14) days after service of a copy of this recommended disposition on the objecting party.
 Such objections must conform to the requirements of Rule 59(b)(2) of the Federal Rules of
 Criminal Procedure. Failure to file objections within the time specified waives the right to
 appeal the District Court's order. Thomas v. Arn, 474 U.S. 140, 88 L.Ed.2d 435, 106 S.Ct. 466
 (1985). The district court need not provide de novo review where objections to this report and
 recommendation are frivolous, conclusive or general. Mira v. Marshall, 806 F.2d 636 (6th Cir.
 1986). Only specific objections are reserved for appellate review. Smith v. Detroit Federation of
 Teachers, 829 F.2d 1370 (6th Cir. 1987).

Case 1:09-cr-00181-TRM-CHS            Document 557       Filed 06/23/10     Page 1 of 1       PageID
                                            #: 1041
